                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                    ) Chapter 11
                                          )
WOODBRIDGE GROUP OF COMPANIES,            ) Case No. 17-12560-(KJC)
LLC, et al.,1                             )
                                          ) Jointly Administered
                                          )
                                          ) Hearing Date: Oct. 24, 2018 at 10:00 a.m. (ET)
                  Debtors.                )
__________________________________________) Re Docket No. 2721 & 2767

          RESERVATION OF RIGHTS REGARDING MOTION FOR APPROVAL
            OF CERTAIN COMPROMISES AND SETTLEMENTS, PARTIAL
                 SUBSTANTIVE CONSOLIDATION, AND RELATED
                     RELIEF WITH RESPECT TO THE PLAN

         Lise La Rochelle et al. and other parties objecting to confirmation of the Debtors’ Chapter

11 Plan who are clients of the Sarachek Law Firm2 (the “Dissenting Creditors”), by and through

their undersigned counsel, hereby file this reservation of rights to the Debtors’ Motion for Approval

of Certain Compromises and Settlements, Partial Substantive Consolidation, and Related Relief

with Respect to the Plan [D.I. 2721; filed 10/3/18] (the “Motion”) and state as follows:

         1.       The Debtors’ filed the Motion on October 3, 2018. The Motion deals separately

with issues that are also dealt with as part of the Debtors’ First Amended Joint Chapter 11 Plan of

Liquidation Of Woodbridge Group of Companies, LLC and Its Affiliated Debtors (the “Plan”).




1
  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603. The
mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks
California 91423. The complete list of Debtors, the last four digits of their federal tax identification numbers, and
their addresses are not provided herein. A complete list of such information may be obtained on the website of the
noticing and claims agent at www.gardencitygroup.com/cases/wgc.
2
  All of the Objecting parties are fully listed in the 2019 Statement filed The Sarachek Law Firm on August 21, 2018
[Docket No. 2385]


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        2.        The Dissenting Creditors filed an objection to the Plan on October 11, 2017 [D.I.

2767]. Nothing in the Motion should be seen as superseding the arguments in the Plan to which

the Dissenting Creditors objected.


Dated: October 22, 2018
       Wilmington, Delaware                    THE ROSNER LAW GROUP LLC

                                               /s/ Jason A. Gibson
                                               Frederick B. Rosner (DE No. 3995)
                                               Jason A. Gibson (DE No 6091)
                                               824 N. Market St., Suite 810
                                               Wilmington, DE 19801
                                               Tel: (302) 777-1111
                                               Email: gibson@teamrosner.com

                                                      -and-

                                               THE SARACHEK LAW FIRM
                                               Joseph E. Sarachek (NY Bar No. 2163228)
                                               101 Park Avenue, 27th Floor
                                               New York, NY 10178
                                               Telephone: (212) 808-7881
                                               Facsimile: (646) 861-4950
                                               Email: joe@saracheklawfirm.com




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